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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------X

 GEORGE LEIFER,


                         Plaintiff,                   CV-04-571 (CPS)

             - against -                              MEMORANDUM AND
                                                      OPINION

 NEW YORK STATE DIVISION OF PAROLE, and
 JAMES DRESS, in his official and
 individual capacities,


                         Defendants.

 ----------------------------------------X


 SIFTON, Senior Judge.


       Plaintiff George Leifer (“Leifer”) brings this action

 against defendants the New York State Division of Parole

 (“Division”) and James Dress (“Dress”), the Regional Director of

 the Queens, Brooklyn and Staten Island areas of the Division,

 alleging violations of Title VII of the Civil Rights Act of 1964,

 as amended, 42 U.S.C. 2000e et seq. (“Title VII”), 42 U.S.C. §§

 1981 and 1983, the New York State Human Rights Law, New York

 Executive Law § 290 et seq. (“NYSHRL”), and the New York City

 Human Rights Law, N.Y.C. Administrative Code §8-101 et seq.

 (“NYCHRL”). Specifically, plaintiff claims that defendants

 discriminated against him based on his religion and retaliated

 against him for complaining about the discrimination.

       Presently before the Court is defendants’ motion for summary
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 judgment pursuant to Federal Rule of Civil Procedure 56. For the

 reasons that follow, defendants’ motion for summary judgment is

 granted.

                                  BACKGROUND

       The following facts are taken from the parties’ depositions,

 affidavits, exhibits, and Local Rule 56.1 statements. Disputes

 are noted.

       The Division of Parole is the New York State Agency

 responsible for the supervision of inmates released from New York

 State prisons before the completion of their prison sentences.

 Defendant Dress is the Regional Director of the Queens, Brooklyn,

 and Staten Island geographic areas. Plaintiff is a Jewish male

 who began working for the Division as a Parole Officer (“PO”) in

 September of 1987. In August of 1993, plaintiff was promoted to

 the position of Senior Parole Officer (“SPO”). As an SPO,

 plaintiff supervises other POs and their caseloads. In September

 2001, plaintiff requested and was granted a transfer from the

 Manhattan II office to the Queens Metro I Area (“Queens 1"). Jay

 Powers (“Powers”), the Bureau Chief of Queens 1, advised

 plaintiff that he would not be “stepping into the Garden of Eden”

 by transferring because there were “serious staff problems” in

 the Queens office. (Dep. of plaintiff 3/31/05, p. 8, Defendants’

 Exhibit F).

       Shortly after plaintiff’s transfer to Queens 1, the Division
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 scheduled a meeting for the Jewish holiday of Rosh Hashanah,

 which fell on September 19, 2001. Plaintiff notified his

 supervisors that the meeting date was scheduled for a Jewish

 holiday and asked that it be rescheduled. The meeting was not

 rescheduled. However, plaintiff was not penalized for his

 absence. On September 20, 2001 plaintiff wrote a memorandum to

 Powers and the Deputy Regional Director Angela Jimenez

 (“Jimenez”), requesting that future meetings not be scheduled on

 Jewish holidays, and that a second meeting be arranged for the

 benefit of those SPOs who were unable to attend the first meeting

 due to religious observance. (Defendants’ exhibit L). Defendant

 Dress received a similar memorandum. (Defendants’ exhibit Q.)

 Although defendant Dress states that he directed Powers to ensure

 that plaintiff was informed of what happened at the meeting,

 plaintiff alleges that Powers (who is now deceased) failed to do

 so.

       On November 28, 2001, plaintiff attended several meetings

 held at Queens 1, along with Jimenez, Powers, and several of the

 POs under plaintiff’s supervision. (Defendants’ Exhibit G).

 Plaintiff alleges that at these meetings he was “blame[d] for the

 behavior of Defendant,”1 and that this encouraged his

 subordinates to question his authority. Defendants contend that

 the meetings were held to address various complaints from the


       1
           Plaintiff does not make clear to what “behavior” he refers.
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 plaintiff regarding the behavior of his subordinates.

 (Defendants’ Exhibit O, ¶¶ 25-26). An undated “Petition for

 Relief” was submitted by four POs under plaintiff’s supervision

 requesting that plaintiff undergo sensitivity counseling, cease

 his “unprofessional behavior of posturing and harassment,” and be

 removed from Queens 1. (Defendants’ Exhibit H). Following the

 meetings, Robert Oeser from the Division’s Employee Relations

 office concluded in a December 4, 2001 report that “[t]he

 systemic problems in the unit need to be resolved at a regional

 level,” and that “any successful strategy for resolution would

 need to include counseling and training for SPO Leifer.”

 (Defendants’ Exhibit G).

       Three weeks later, on December 26, 2001, plaintiff filed a

 Grievance alleging that the Division allowed his subordinates to

 be hostile and disrespectful to him,2 undermining his ability to

 discipline them. At a January 14, 2002 meeting with defendant

 Dress regarding the Grievance, at which Dress also addressed

 plaintiff’s complaints about the September 19, 2001 meeting,

 plaintiff alleges that Dress stated: “What gives you the audacity

 to protest my supervisor’s meeting? Your religious laws and


       2
         Particular instances of insubordination involved “point[ing] a finger
 in [plaintiff’s] face, putting feet on [plaintiff’s] desk, laughing at
 [plaintiff’s] instructions, refusing to provide information about job related
 activities about which [plaintiff is] entitled to know, refusing to provide
 [plaintiff] with a home telephone number, raising one’s voice argumentatively,
 failing to contribute to a case conference, reading a magazine or pretending
 to read a magazine during a case conference, [and] telling [plaintiff] to get
 out of [one’s] office.” (Memo Dress to Leifer, Defense Exhibit K.)
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 customs are not binding on me. I will not reschedule meetings

 because of some Jewish holiday.” Defendant Dress denies having

 used such language, and states that he merely explained that in

 deciding when to schedule a meeting the “personal observances of

 individual employees [are] a lesser factor than some of the

 larger concerns facing Parole.”

       On January 17, 2002, defendant Dress issued a Decision on

 plaintiff’s Grievance. Although Dress noted that plaintiff’s

 allegations concerning the Division’s misconduct were unproven,

 he agreed that the plaintiff “should not have to work in or be

 subjected to the type of hostile environment” described, and

 determined that the regional office would “monitor the ongoing

 situation” (Defendants’ Exhibit K). Dress declined to implement

 plaintiff’s suggestion that one of plaintiff’s subordinates be

 transferred, and rejected plaintiff’s contention that plaintiff’s

 supervisors were not responsive to his requests for assistance.

       On January 28, 2002, Bureau Chief Powers sent plaintiff a

 counseling memorandum, criticizing plaintiff for two incidents in

 late January regarding a new parole officer under his

 supervision, PO Marcelin.3 Plaintiff alleges that this counseling

       3
         One incident involved a notice regarding the arrest of one of PO
 Marcelin’s parolees. The arrest was for several offenses, including two
 violent felonies. Powers placed the notice of arrest on plaintiff’s desk, and
 upon his arrival plaintiff put the notice in PO Marcelin’s mail bin without
 mentioning it to her. Roughly three hours after the Arrest Notice was placed
 in PO Marcelin’s mail bin, Powers became aware that she had not yet taken
 action on it. Powers reprimanded plaintiff for not having brought the Arrest
 Notice to PO Marcelin’s attention. Because the parolee had been arrested five
 days earlier and could have made bail, Powers considered it imperative that PO
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 memorandum was issued in retaliation for plaintiff’s religious

 discrimination complaint,4 and that the actions for which he was

 cited were not standard violations of any “manual item, policy or

 procedures.” (Defendants’ Exhibit J). Plaintiff further alleges

 that the fact that he was reprimanded for mistakes made by his

 subordinate, who was not herself counseled, is evidence of an

 improper purpose behind the reprimand. Because Powers did not

 follow the required protocol of meeting with Leifer prior to

 issuing the counseling memorandum, the memorandum was

 subsequently withdrawn.

       For the period of August 12, 2001 through August 12, 2002,

 plaintiff received what he considered to be a negative personnel

 evaluation. Defendants state, and plaintiff does not dispute,

 that plaintiff’s evaluation was “satisfactory.” However,

 plaintiff maintains that it contained “attacks and punishing

 language.”5


 Marcelin pay close attention to whether the parolee reported. The second
 incident occurred the following day when Powers was reviewing the file of
 another of PO Marcelin’s parolees and discovered that the warrant for his
 arrest had not been signed by plaintiff and notarized and was therefore
 illegal. Because of PO Marcelin’s inexperience Powers felt that it was
 important for plaintiff to take an active supervisory role in her cases.
 (Defendants’ Exhibit I).
       4
         Plaintiff must refer here to his memorandum to his supervisors
 requesting that meetings not be scheduled on Jewish holidays or some other
 complaint. The first formal complaint of religious discrimination documented
 in the parties’ submissions is a complaint to the State Division of Human
 Rights dated March 10, 2003 (Defendants’ Exhibit C).
       5
         Plaintiff received the following review in the comments portion of the
 evaluation form: “SPO Leifer requires regular assistance and oversight in
 managing his unit - which rarely meets contact standards. He demonstrates
 adequate competence in case management and dealing with most problems related
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       On January 2, 2003, the Division issued a Notice of

 Discipline to plaintiff for mishandling the routine transfer of a

 parolee.6 Plaintiff challenged the Notice. It was eventually

 affirmed in arbitration, although the Arbitrator reduced the

 penalty from thirty days suspension without pay to two days of

 suspension without pay (Defendants’ Exhibit Z).

       On January 27, 2003 and again on February 6, 2003, shortly

 after the Notice of Discipline was issued, plaintiff alleges that

 PO Redd, one of his subordinates, came by his office and shouted

 “Suspension! Suspension! Suspension!” Plaintiff alleges that his

 supervisors told his subordinates about the suspension in an

 attempt to undermine his authority. Defendants deny knowledge as

 to how PO Redd acquired information regarding plaintiff’s

 suspension.

       Plaintiff filed a complaint, dated March 10, 2003, with the

 New York State Division of Human Rights (“SDHR”) alleging

 religious discrimination by the Division.7 (Defendants’ Exhibit


 to his caseload but requires frequent guidance, advice and focus.
 Notwithstanding the above, SPO Leifer is well motivated and generally
 understands and takes his responsibilities seriously.” (Defendants’ Exhibit
 Y).
       6
         In February of 2002, plaintiff transferred a case but failed to pass
 on information regarding a parolee’s history of domestic violence. The Bureau
 that took on the file did not monitor the parollee as they would have if they
 were on notice of his history of violence. On July 16, 2002 the parollee
 stabbed his wife to death. The parole officer who received the file was also
 disciplined. (Defendants’ Exhibit Z).
       7
         The parties have not provided information regarding the outcome of
 plaintiff’s complaint with SDHR. However, defendants do not allege that
 plaintiff failed to exhaust his administrative remedies.
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 C).

       Plaintiff alleges that at a March 27, 2003 meeting,

 defendant Dress stated: “You are different. You are not like the

 rest of us. You don’t fit in here...You don’t curse. You don’t

 scream and yell at people, yet you are dangerous...You are like

 Saddam Hussein.” Dress denies making such a statement.

       In April of 2003, a training program on new drug testing

 equipment was scheduled for June 6, 2003, the Jewish holiday of

 Shavuot. Plaintiff notified his supervisors that he would be

 unable to attend as he would be observing the Jewish holiday, and

 his absence was excused. Plaintiff alleges that he requested that

 he be allowed to attend the training for another bureau, and his

 request was denied. Defendant contends that employees who could

 not attend the June 6 training were allowed to attend training in

 other bureaus, or were trained by a colleague. Plaintiff

 maintains that he never received training on the new drug testing

 equipment.

       In September of 2003, plaintiff’s wedding picture, which he

 kept on his desk at the Division, was vandalized. An unknown

 person drew horns on plaintiff’s head and a beard on his wife’s

 face. Plaintiff notes that this act had anti-Semitic overtones.8


       8
         Plaintiff does not explain his position that the vandalism was anti-
 Semitic. Presumably he refers to the derogatory stereotype that Jews have
 horns. See e.g. Challenging Anti-Semitism: Debunking the Myth and Responding
 with Facts, http://www.adl.org/education/curriculum_connections/spring_2006/
 Anti-Semitism%20Past%20and%20Present%20Handouts.pdf at page 5. See also
 Michelangelo, Mid Years, The Tomb of Julius II, http://michelangelo.com/buon/
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 Although the Division’s Office of Professional Responsibility

 (OPR) conducted an investigation at the time of the incident and

 a second investigation in 2005,9 plaintiff alleges that the

 investigations were “very minimal and absolutely inappropriate,”

 and that the defendant should have examined his wedding

 photograph for fingerprints as part of the investigation. A few

 months earlier plaintiff found a crowbar in his office file

 cabinet,10 and what he believed to be urine on his desk chair.

 Defendants investigated the incident involving the chair,11 and

 maintain that plaintiff never requested an investigation

 regarding the crowbar. Plaintiff claims that defendants failed to

 adequately investigate these incidents and that defendants should

 have conducted DNA testing on his chair.

       In February of 2004 plaintiff was notified that his

 testimony would be required at an April 9, 2004 hearing regarding



 bio-index2.html?http://www.michelangelo.com/buon/bio-mid.html (“Michelangelo's
 ‘Moses’ has horns because one of the biblical translations of "rays of light"
 became "horns" in Italian. Because of this mistranslation, depictions of Moses
 with horns became somewhat commonplace.”)
       9
         Plaintiff emailed OPR in 2005 alleging that one of the POs had
 provided new information regarding the perpetrator of the vandalism. OPR
 reopened the investigation, but when interviewed, the PO denied having any
 information regarding the vandalism of plaintiff’s wedding picture.
       10
         Plaintiff suggests two reasons why a crowbar in his file cabinet is a
 hostile action. Plaintiff sees the crowbar as either an attempt at
 intimidation, or an attempt to get him in trouble because parole officers are
 only allowed to have certain types of weapons while on duty. (Dep. of
 plaintiff 3/31/05. Defendants’ Exhibit F.)
       11
          Plaintiff alleges that at the time he noticed the wet spot on his
 chair he was informed by a secretary that it was urine. OPR interviewed the
 secretary who denied having made such a statement.
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  a subordinate who had physically threatened him. As April 9, 2004

  was one of the intermediate days of Passover, plaintiff requested

  additional lunch time from his supervisor in order to eat at a

  Kosher establishment. Plaintiff alleges that Defendants’ employee

  Robert Oeser told plaintiff: “[I]f I allow you to do this, my

  whole day is ruined...this is your problem...request denied.”

  Oeser denies making any such statement (Defendants’ Exhibit O, ¶¶

  19-20). In a memo dated February 24, 2004, Jose Burgos, the

  Director of Human Resource Management informed plaintiff that he

  would no longer be required to testify at the hearing.

  (Defendants’ Exhibit V). The Division subsequently withdrew the

  charges against the subordinate. Plaintiff alleges that by

  dropping the charges against his subordinate, defendant

  undermined his ability to supervise his staff.

        Plaintiff further alleges that in late March of 2004 the

  Acting Bureau Chief of Queens 1, Patrick Hoy (“Hoy”), told

  plaintiff: “Leifer, your friend Lerner filed false reports

  against me...he tried to play the anti-Semitism

  card...(laugh)...and he came up short...(laugh)...there are

  remedies against those who file false complaints and I am looking

  into it.” Hoy denies making any such statement, and plaintiff

  never notified the Division of Hoy’s alleged comments. Plaintiff

  also alleges that in March of 2004 Hoy demanded that plaintiff

  remove photographs of President Bush and Governor Pataki with
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  Menorahs from his office wall. Plaintiff further alleges that Hoy

  had him investigated based on a false complaint, deliberately

  lost several months of plaintiff’s time cards resulting in the

  withholding of plaintiff’s paycheck, and rescinded plaintiff’s

  discipline of two subordinates, encouraging them and others to

  disregard plaintiff’s instructions.

        Sometime in 2004 plaintiff filed a complaint with the Equal

  Employment Opportunity Commission (“EEOC”).12 (Defendants’

  Exhibit C). On May 28, 2004, after being informed of this

  lawsuit, the EEOC dismissed the case and provided plaintiff with

  a Notice of Right to Sue. (Plaintiff’s Exhibit L).

        On October 17, 2005, the eve of the Jewish holiday of

  Sukkot, plaintiff was scheduled to appear with a parollee at a

  Parole Hearing. Plaintiff allegedly requested that he be allowed

  to leave early in order to attend evening religious services.13

  Although plaintiff believes the Hearing Officer requested that

  plaintiff’s case be heard earlier in the day, plaintiff alleges

  that it was not and he was unable to attend the evening service.

                                     DISCUSSION

                                    Jurisdiction

        This Court has jurisdiction over the present action pursuant


        12
          The parties’ Rule 56.1 statements agree that plaintiff filed a
  complaint with EEOC “on or about March 2004 or June 16, 2004,” although by May
  28, 2004 the EEOC had dismissed plaintiff’s case. (Plaintiff’s Exhibit L).
        13
             It is not clear to whom plaintiff made this request.
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  to 28 U.S.C. § 1331, which creates jurisdiction over civil

  actions arising under federal law; 28 U.S.C. § 1343, which

  creates jurisdiction over actions arising under 43 U.S.C. § 1983;

  and 28 U.S.C. § 1367, which creates supplemental jurisdiction

  over claims arising under state law.

                         Summary Judgment Standard

        A court must grant a motion for summary judgment if the

  movant shows that “there is no genuine issue as to any material

  fact” and that “the moving party is entitled to a judgment as a

  matter of law.” Fed. R. Civ. Pro. 56(c). Summary judgment is

  appropriate “[w]hen the record taken as a whole could not lead a

  rational trier of fact to find for the non-moving party.”

  Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.

  574, 587 (1986). “An issue of fact is genuine if the evidence is

  such that a reasonable jury could return a verdict for the

  nonmoving party.” Elec. Inspectors, Inc. v. Village of East

  Hills, 320 F.3d 110, 117 (2d Cir. 2003). A fact is material when

  it “might affect the outcome of the suit under the governing

  law.” Id.

        The party seeking summary judgment has the burden of

  demonstrating that no genuine issue of material fact exists. Apex

  Oil Co. v. DiMauro, 822 F.2d 246, 252 (2d Cir. 1987). In order to

  defeat such a motion, the non-moving party must raise a genuine

  issue of material fact. Although all facts and inferences
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  therefrom are to be construed in the light most favorable to the

  non-moving party, the non-moving party must raise more than a

  “metaphysical doubt” as to the material facts. See Matsushita,

  475 U.S. at 586; Harlen Assocs. v. Vill. of Mineola, 273 F.3d

  494, 498 (2d Cir. 2001). The non-moving party may not rely on

  conclusory allegations or unsubstantiated speculation. Twin

  Labs., Inc. v. Weider Health & Fitness, 900 F.2d 566, 568 (2d

  Cir. 1990). Rather, the non-moving party must produce more than a

  scintilla of admissible evidence that supports the pleadings.

  First Nat’l Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 289-

  90 (1968); Niagara Mohawk Power Corp. v. Jones Chem. Inc., 315

  F.3d 171, 175 (2d Cir. 2003). In deciding such a motion the trial

  court must determine whether “after resolving all ambiguities and

  drawing all inferences in favor of the non-moving party, a

  rational juror could find in favor of that party.” Pinto v.

  Allstate Ins. Co., 221 F.3d 394, 398 (2d Cir. 2000). “The

  salutary purposes of summary judgment--avoiding protracted,

  expensive and harassing trials--apply no less to discrimination

  cases than to...other areas of litigation,” Meiri v. Dacon, 759

  F.2d 989, 998 (2d Cir. 1985) and courts have often noted that it

  is “beyond cavil that summary judgment may be appropriate even in

  the fact-intensive context of discrimination cases.” Schiano v.

  Quality Payroll Systems, Inc., 445 F.3d 597, 603 (2d Cir. 2006)

  (citing Abdu-Brisson v. Delta Air Lines, Inc., 239 F.3d 456, 466
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  (2d Cir. 2001)).

                                 Plaintiff’s Claims

        Plaintiff alleges violations of Title VII of the Civil

  Rights Act of 1964, as amended, 42 U.S.C. 2000e et seq. (“Title

  VII”),14 42 U.S.C. §§ 198115 and 1983,16 the New York State Human

  Rights Law, Executive Law § 290 et seq.17 and the New York City


        14
           Title VII of the Civil Rights Act of 1964 makes it unlawful for an
  employer “to fail or refuse to hire or to discharge any individual, or
  otherwise to discriminate against any individual with respect to his
  compensation, terms, conditions, or privileges of employment, because of such
  individual’s race, color, religion, sex, or national origin.” 42 U.S.C. §
  2000e-2.
        Title VII also makes it unlawful for an employer “to discriminate
  against any of his employees...because he has opposed any practice made an
  unlawful employment practice by this subchapter, or because he has made a
  charge, testified, assisted, or participated in any manner in an
  investigation, proceeding, or hearing under this subchapter.” 42 U.S.C. §
  2000e-3
        15
           “All persons within the jurisdiction of the United States shall have
  the same right in every State and Territory to make and enforce contracts, to
  sue, be parties, give evidence, and to the full and equal benefit of all laws
  and proceedings for the security of persons and property as is enjoyed by
  white citizens, and shall be subject to like punishment, pains, penalties,
  taxes, licenses, and exactions of every kind, and to no other.” 42 U.S.C. §
  1981
        16
          “Every person who, under color of any statute, ordinance, regulation,
  custom, or usage, of any State or Territory or the District of Columbia,
  subjects, or causes to be subjected, any citizen of the United States or other
  person within the jurisdiction thereof to the deprivation of any rights,
  privileges, or immunities secured by the Constitution and laws, shall be
  liable to the party injured in an action at law, suit in equity, or other
  proper proceeding for redress . . . .” 42 U.S.C. § 1983
        17
             N.Y. Exec. Law § 296 provides:

        It shall be an unlawful discriminatory practice:

        (a) For an employer or licensing agency, because of the age, race,
        creed, color, national origin, sexual orientation, military status, sex,
        disability, predisposing genetic characteristics, or marital status of
        any individual, to refuse to hire or employ or to bar or to discharge
        from employment such individual or to discriminate against such
        individual in compensation or in terms, conditions or privileges of
        employment.

        . . .
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  Human Rights Law, N.Y.C. Administrative Code § 8-101 et seq.

  (“NYCHRL”)18. Specifically, plaintiff claims that (1) defendants

  discriminated against him based on his religion; and (2) that

  defendants retaliated against him for complaining about the

  alleged religious discrimination.

                   Title VII Claims against Defendant Dress

        Defendants argue that plaintiff’s Title VII claims must be

  dismissed as to defendant Dress because Title VII claims cannot

  be maintained against individual defendants.19

        It is well settled that an employer’s agents, even those in

  supervisory positions, cannot be held individually liable under

  Title VII. See Tomka v. Seiler Corp., 66 F.3d 1295, 1312-13 (2d

  Cir.1995), abrogated on other grounds by, Burlington Indus. Inc.

  v. Ellerth, 524 U.S. 742; Woods v. Ruffino, 8 Fed.Appx. 41, 42

  (2d Cir. 2001); Mandell v. County of Suffolk, 316 F.3d 368, 377


        (e) For any employer, labor organization or employment agency to
        discharge, expel or otherwise discriminate against any person because he
        or she has opposed any practices forbidden under this article or because
        he or she has filed a complaint, testified or assisted in any proceeding
        under this article.

  N.Y. Exec. Law § 297(9) provides, “[a]ny person claiming to be aggrieved by an
  unlawful discriminatory practice shall have a cause of action in any court of
  appropriate jurisdiction for damages . . . .”
        18
           New York City Administrative Code § 8-107 provides: "It shall be an
  unlawful discriminatory practice: (a) For an employer or an employee or agent
  thereof, because of the actual or perceived age, race, creed, color, national
  origin, gender, disability, marital status, sexual orientation or alienage or
  citizenship status of any person, to refuse to hire or employ or to bar or to
  discharge from employment such person or to discriminate against such person
  in compensation or in terms, conditions or privileges of employment." NYC
  Code § 8-107(1)(a).
        19
             Plaintiff does not respond to this argument.
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  (2d Cir. 2003). Accordingly, the Title VII claims must be

  dismissed as to defendant Dress.

             Discrimination Claims against Defendant Division20

        Title VII prohibits discrimination in employment based on an

  employee’s religion. Religion is broadly defined to include “all

  aspects of religious observance and practice, as well as belief,”

  although an employer is not required to accommodate an employee’s

  religious practices if the employer can demonstrate that he is

  unable to do so “without undue hardship on the conduct of the

  employer's business.” 42 U.S.C. § 2000e(j). To succeed on a Title

  VII discrimination claim, the plaintiff must first offer

  “evidence adequate to create an inference that an employment

  decision was based on a discriminatory criterion illegal under

  the Act.”     International Brotherhood of Teamsters v. United

  States, 431 U.S. 324, 358 (1977). In producing such evidence, a

  plaintiff establishes a prima facie case, creating a presumption

  of discrimination which shifts the burden of production to the

  defendants. The defendants must then present a legitimate,

  non-discriminatory reason for the adverse employment action to

        20
          “[E]mployment discrimination claims brought pursuant to §§ 1981 and
  1983...are evaluated under the same analytical framework as those brought
  under Title VII.” Jessamy v. City of New Rochelle, 292 F.Supp.2d 498, 511 n.
  15 (S.D.N.Y. 2003)(internal citations omitted). Moreover, liability for
  purposes of Title VII and New York State and City human rights laws is
  essentially identical. Tomka, 66 F.3d at 1304 n.4; McCoy v. City of New York,
  131 F. Supp. 2d 363, 375-76 (E.D.N.Y. 2001). Consideration of claims brought
  under New York State and City Human Rights Laws parallels the...framework
  applied to Title VII claims. Cruz v. Coach Stores, Inc., 202 F.3d 560, 565 n.1
  (2d Cir. 2000); Landwehr v. Grey Adver., Inc., 211 A.D.2d 583 (N.Y. App. Div.
  1995). Accordingly, these claims will be addressed together.
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  rebut the presumption. Texas Department of Community Affairs v.

  Burdine, 450 U.S. 248, 279-80 (1981). The burden then shifts to

  the plaintiff to prove that the stated reason is pretext, and

  “that discrimination was the real reason for the employment

  action.”   Graham v. Long Island R.R., 230 F.3d 34, 38 (2d Cir.

  2000) (citing Burdine, 450 U.S. at 256; Fisher v. Vassar College,

  114 F.3d 1332, 1336 (2d Cir. 1997) (en banc), cert. denied, 522

  U.S. 1075 (1998).

        Plaintiff alleges discrimination under three different

  theories: (1) failure to make reasonable accommodations for the

  religious practices of employees; (2) creation of a hostile work

  environment; and (3) disparate treatment. Plaintiff further

  alleges that he was retaliated against for lodging complaints

  regarding religious discrimination by the Division. I address

  each of these claims below.

  Reasonable Accommodations

        To make out a prima facie case of discrimination alleging

  that an employer failed to reasonably accommodate the plaintiff’s

  religious practices, the plaintiff must show that (1) he held a

  bona fide religious belief conflicting with an employment

  requirement; (2) he informed his employers of this belief; and

  (3) he suffered an adverse employment action for failure to

  comply with the employment requirement that conflicted with his

  belief. Baker v. The Home Depot, 445 F.3d 541, 546 (2d Cir.
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  2006). “An ‘adverse employment action’ is one that materially

  changes the terms and conditions of employment.” Richardson v.

  New York State Dep't of Correctional Serv., 180 F.3d 426, 446 (2d

  Cir. 1999)(quoting Torres v. Pisano, 116 F.3d 625, 640 (2d Cir.

  1997)). “[W]hether an undesirable employment action qualifies as

  being ‘adverse’ is a heavily fact-specific, contextual

  determination.” Hoyt v. Andreucci, 433 F.3d 320, 328 (2d Cir.

  2006)(citing Wanamaker v. Columbian Rope Co., 108 F.3d 462, 466

  (2d Cir. 1997)(no bright line rules)). “A materially adverse

  change might be indicated by a termination of employment, a

  demotion evidenced by a decrease in wage or salary, a less

  distinguished title, a material loss of benefits, significantly

  diminished material responsibilities, or other indices ... unique

  to a particular situation.”       Galabya v. New York City Bd. of

  Educ., 202 F.3d 636, 640 (2d Cir. 2000) (citing Crady v. Liberty

  National Bank and Trust Co. of Indiana, 993 F.2d 132, 136 (7th

  Cir. 1993)). Adverse employment actions may also include

  reprimand. See Morris v. Lindau, 196 F.3d 102, 110 (2d Cir.

  1999)(citations omitted); see also Richardson v. New York State

  Dept. of Correctional Service, 180 F.3d 426, 446 (noting that

  reprisals by employers less flagrant than job termination or

  reduced wages or benefits may also be adverse). However, “a

  change in working conditions must be more disruptive than a mere

  inconvenience or an alteration of job responsibilities” to
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  constitute an adverse employment action. Galabya, 202 F.3d at

  640.

         Plaintiff alleges that in scheduling the September 19, 2001

  meeting on Rosh Hashanah, and the June 6, 2003 training session

  on Shavuot, the defendants subjected plaintiff to an adverse

  employment action in that they forced plaintiff to “choose

  between his religion and his work.” However, plaintiff presents

  no evidence that his reputation or opportunities for advancement

  or earning potential were affected, or that defendants’ action

  caused any material change in the terms or conditions of his

  employment. Assuming that plaintiff was effectively denied

  training on new drug testing equipment, there is no showing that

  this training was so vital to the performance of plaintiff’s

  supervisory duties as to constitute a material change in the

  terms and conditions of his employment. There is no showing at

  all as to what occurred at the September 19 meeting of such

  significance as to alter the terms and conditions of his

  employment. Moreover, by granting plaintiff leave for the

  holidays, the Division satisfied its duty to make reasonable

  accommodations for plaintiff’s religious practices. See

  Man-of-Jerusalem v. Hill, 769 F. Supp. 97, 100-101 (E.D.N.Y.

  1991) (granting employees unpaid leave for religious holidays is

  reasonable accommodation). Title VII does not require an employer

  to accommodate the religious practices of its employees in the
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  precise way in which the employee desires. “Where the employer

  has already reasonably accommodated the employee's religious

  needs, the statutory inquiry is at an end. The employer need not

  show that each of the employee's alternative accommodations would

  result in undue hardship.” Ansonia Bd. of Educ. v. Philbrook, 479

  U.S. 60, 68 (1986).

        Although plaintiff alleges that defendant stated that he

  would not be allowed an extended lunch for Passover during the

  April 9, 2003 hearing at which he was required to testify, the

  hearing never actually occurred. Plaintiff has thus failed to

  show that his religious beliefs were not reasonably accommodated

  by the Division.

  Hostile Work Environment

        The Supreme Court has interpreted Title VII to prohibit

  “requiring people to work in a discriminatorily hostile or

  abusive environment.” Harris v. Forklift Systems, Inc., 510 U.S.

  17, 21 (1993). To succeed on a hostile work environment claim, a

  plaintiff must show, first, that “the workplace is permeated with

  discriminatory intimidation, ridicule, and insult, that is

  sufficiently severe or pervasive to alter the conditions of the

  victim’s employment.” Id. at 21. Factors to be considered in

  determining whether an environment is hostile or abusive include:

  “the frequency of the discriminatory conduct; its severity;

  whether it is physically threatening or humiliating, or a mere
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  offensive utterance; and whether it unreasonably interferes with

  an employee's work performance.” Harris, 510 U.S. at 23. Although

  “the incidents comprising a hostile work environment claim need

  not make reference to any trait or condition on the basis of

  which the discrimination has occurred,” they must occur under

  circumstances under which “the incidents can reasonably be

  interpreted as having taken place on the basis of that trait or

  condition.” Svenningsen v. College of Staten Island, No.

  01-CV-7550, 2003 WL 21143076, *2 (E.D.N.Y. 2003); See Gregory v.

  Daly, 243 F.3d 687, 694-695 (2d Cir. 2001). Isolated incidents of

  offensive conduct are generally inadequate to establish a

  discrimination claim, and plaintiff must show “either a single

  incident was extraordinarily severe, or that a series of

  incidents was sufficiently continuous and concerted” to cause a

  change in the work environment. Howley v. Town of Stratford, 217

  F.3d 141, 153 (2d Cir. 2000)(citing Cruz v. Coach Stores, Inc.,

  202 F.3d 560, 570 (2d Cir. 2000)). Under these tests, it is, at

  the least, a jury question whether plaintiff suffered a hostile

  work environment as a result of the misconduct of his fellow

  workers.21 For example, although it is not the only possible



        21
          In addition to those instances listed at footnote 2, supra,
  plaintiff’s subordinates allegedly: opened a window in his office without his
  permission, in the process knocking over and not picking up one of plaintiff’s
  possessions; stated “you really stink Leifer, do you bathe regularly?;” stated
  good morning, and when plaintiff responded good morning replied “I’m talking
  to PO Uretsky, not you Leifer;” and closed the door in plaintiff’s face.
  (Defendant’s Exhibit AA).
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  interpretation, a reasonable jury could interpret the drawing of

  horns around defendant’s head on his wedding picture as anti-

  Semitic. However, after establishing that a hostile work

  environment resulting from discrimination existed, a plaintiff

  must show that there is a specific basis for imputing the

  discriminatory conduct to his employer. Van Zant v. KLM Royal

  Dutch Airlines, 80 F.3d 708, 715 (2d Cir. 1996). It is “important

  in hostile work environment cases to exclude from consideration

  personnel decisions that lack a linkage or correlation to the

  claimed ground of discrimination.” Alfano v. Costello, 294 F.3d

  365, 377 (2d Cir. 2002).

        Plaintiff alleges several interactions with his supervisors

  in which his religion or Semitic background is implicated:

  Defendant Dress’ statement in January 2002 that Jewish laws and

  customs were not binding on him and that he would not reschedule

  meetings because of Jewish holidays; his statement two years

  later that “you are not like the rest of us . . . You are like

  Saddam Hussein”; the failure to apprehend the individual defacing

  plaintiff’s wedding photo in September 2003; defendant’s employee

  Oeser’s initial refusal to grant plaintiff an extended lunch hour

  for Passover in February of 2004; Acting Bureau Chief Hoy’s

  directive that plaintiff remove pictures from his wall displaying

  political figures near Menorahs; and Hoy’s statement in March of

  2004 about filing false complaints of anti-Semitism.
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        While each of these interactions relate or refer to

  plaintiff’s religion or ethnic background, none (with the

  possible exception of the reference to Saddam Hussein) express

  hatred, contempt, or hostility. Considering the Saddam Hussein

  comment together with the others might raise a reasonable

  suspicion that defendants harbored a discriminatory animus toward

  plaintiff. However, whether taken singly or together these

  incidents do not supply a basis on which a reasonable juror could

  infer that defendants, more likely than not, failed to stop the

  hostile environment created by plaintiff’s subordinates because

  they were motivated wholly or in part by hostility occasioned by

  plaintiff’s religion or ethnicity.         Plaintiff has failed to show

  that these infrequent and relatively benign incidents were

  causally related to the hostile work environment in which

  plaintiff worked or unreasonably interfered with his work

  performance or altered the conditions of his employment.

  Plaintiff’s difficulties with his subordinates predated these

  comments, and plaintiff has shown no change in his work

  environment based on these few arguably discriminatory comments

  by his supervisors.

        Courts have granted summary judgment where significantly

  more severe instances of discrimination were alleged. In Shabat

  v. Blue Cross Blue Shield, 925 F. Supp. 977 (W.D.N.Y. 1996),

  aff’d sub nom Shabat v. Billotti, 108 F.3d 1370 (2d Cir. 1997),
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  plaintiff’s claims were dismissed despite comments from coworkers

  and supervisors asking the Jewish Israeli plaintiff whether

  people from the Mideast beat their wives; asking why he could not

  accept Jesus Christ as the Messiah since Jesus was also Jewish;

  stating that there was no such holiday as Yom Kippur; asking

  plaintiff who he had killed to make “matzah cake,” an “allusion

  to a once-common myth spread by anti-Semites that Jews killed

  children and used their blood when baking matzah for Passover;”

  and rebuking plaintiff for inviting coworkers to the “barbaric

  ceremony” of his son’s circumcision. Shabat v. Blue Cross, 925 F.

  Supp. at 982. In affirming the trial court’s decision, the Second

  Circuit found “particularly significant the facts that...the

  incidents perceived by plaintiff to evidence anti-Semitic and

  anti-Israeli animus were relatively few in number (roughly nine),

  and they occurred over a three and one-half year period....”

  Shabat v. Billotti, 108 F.3d 1370 at *1. Similarly, plaintiff

  here alleges a limited number of incidents occurring over an

  extended period of time.

        In his papers and at oral argument, plaintiff cites Mandell

  v. County of Suffolk, 316 F.3d 368, 373 (2d Cir. 2003) for the

  proposition that “alleged epithets and demeaning invective

  directed at a plaintiff by his or her superiors or co-workers

  can, if believed by a factfinder, subject an employer to legal

  liability for discrimination.” In Mandell the alleged epithets
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  included “‘that Jew’ and ‘Jewboy’ and being told that all Jews

  stick together,” as well as “virulent anti-Semitic remarks

  directed at other Jews, such as “f***ing Jews” and “f***ing Jew

  lawyer.” Mandell, 316 F.3d at 374. The demeaning treatment in

  Mandell also included an instance where “another officer tossed a

  dime on the floor before [the plaintiff] to see if he would stoop

  down to pick it up...which was a reference to the demeaning

  ethnic stereotype that Jews are ‘cheap.’” Id. at 378. Plaintiff

  alleges no language or actions either on the part of the

  defendant or its employees that are comparable to the “epithets

  and demeaning invective” described in Mandell.

  Disparate Treatment

        A disparate treatment claim arises when there is either (1)

  an adverse job action under circumstances giving rise to an

  inference of discrimination on the basis of religion; or (2)

  harassment on the basis of religion that amounts to a hostile

  work environment. Feingold v. State of New York, 366 F.3d 138,

  149-150 (2d Cir. 2004). Plaintiff does not make clear under which

  standard he claims disparate treatment, but in either case his

  claim must fail because he has shown neither an adverse job

  action nor a hostile work environment resulting from defendants’

  discriminatory animus.
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  Retaliation

        To state a prima facie case of retaliation, plaintiff must

  show (1) that he was engaged in a protected activity, (2) that

  his employer was aware of that activity, (3) that he suffered an

  adverse employment action, and (4) that there was a causal

  connection between the protected activity and the adverse

  employment action. Manoharan v. Columbia Univ. College of

  Physicians & Surgeons, 842 F.2d 590, 593 (2d Cir. 1988). In De

  Cintio v. Westchester County Medical Center, 821 F.2d 111 (2d

  Cir. 1987), cert. denied, 484 U.S. 965 (1987), the court

  explained that [proof] of causal connection can be established

  indirectly by showing that the protected activity was followed

  closely by discriminatory treatment, Davis v. State University of

  New York, 802 F.2d 638, 642 (2d Cir. 1986), or through other

  evidence such as disparate treatment of fellow employees who

  engaged in similar conduct, Simmons v. Camden County Bd. of

  Educ., 757 F.2d 1187, 1188-89 (11th Cir.), cert. denied, 474 U.S.

  981 (1985), or directly through evidence of retaliatory animus

  directed against a plaintiff by the defendant. Id. at 115

  (emphasis in original).

        Retaliation claims follow the same burden shifting analysis

  as other discrimination claims. Once a plaintiff has established

  a prima facie case of retaliation, the burden of production then

  shifts to the defendant to state a “legitimate non-discriminatory
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  reason” for the action. De Cintio, 821 F.2d at 115. If defendant

  offers such a reason, plaintiff must then show that defendant’s

  proffered reason is pretextual, and that its actual reason was

  retaliation. Id at 115.

        Defendants argue that plaintiff’s retaliation claims must be

  dismissed as a matter of law because plaintiff has not shown that

  there was any adverse employment action. Plaintiff alleges that

  following his complaints about the scheduling of the September

  19, 2001 meeting on Rosh Hashanah defendant began complaining of

  his work performance. Plaintiff argues that Powers’ counseling

  memorandum was issued shortly after plaintiff’s complaints of

  religious discrimination. However, in fact, plaintiff sent Powers

  a memorandum complaining about the scheduling of a meeting on

  Rosh Hashanah on September 20, 2001. (Defendant’s Exhibit L).

  Powers issued his counseling memorandum more than four months

  later on January 28, 2002. Moreover, since this memorandum was

  subsequently withdrawn, it cannot be considered an adverse

  employment action. Although plaintiff’s evaluation for the period

  of August 2001 through August 2002 was not “excellent,” it was

  “satisfactory,” and in all events cannot itself constitute an

  adverse employment action. Alfano v. Costello, 294 F.3d 365, 376

  (2d Cir. 2002) (evaluations of “good” rather than “excellent” do

  not support an inference of mistreatment). Plaintiff has not

  alleged that he suffered “a termination of employment, a demotion
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  evidenced by a decrease in wage or salary, a less distinguished

  title, a material loss of benefits, [or] significantly diminished

  material responsibilities.” Galabya, 202 F.3d at 640. In fact,

  plaintiff alleges no changes whatsoever in his employment duties

  or compensation between the time he started working at Queens 1

  and the present.

        Plaintiff also alleges that Defendant Dress verbally

  reprimanded him for complaining about the scheduling of a meeting

  on a Jewish holiday. Although reprimand may constitute an adverse

  employment action, Morris v. Lindau, 196 F.3d 102, 110 (2d Cir.

  1999), in the context of this case the reprimand is not enough

  since it did not itself reflect or lead to “a materially adverse

  change in the terms and conditions of employment.” Richardson v.

  New York State Dept. Corr. Svcs., 180 F.3d 426, 446 (2d Cir.

  1999).

        Plaintiff also alleges that following his absence for Rosh

  Hashanah he was verbally reprimanded regarding his interactions

  with the POs under his supervision. However, defendants have

  presented evidence that plaintiff did, in fact, have significant

  difficulty in supervising his subordinates, a non-discriminatory

  basis for reprimand. To show that this reason is pretextual

  plaintiff argues that the Division should have disciplined his

  subordinates, rather than him. However, as an SPO, plaintiff’s

  duties require him to supervise parole officers. That defendant
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  reprimanded him rather than his subordinates is insufficient to

  show pretext, since the failure to supervise was his failure not

  that of his subordinates.

        The Notice of Discipline plaintiff was issued in January of

  2003 based on his mishandling of a parolee transfer may also be

  considered an adverse employment action. However, defendants have

  articulated a non-discriminatory basis for the disciplinary

  action, namely that plaintiff failed to properly transfer the

  parollee’s file. The decision was affirmed by a neutral

  arbitrator, and the person to whom the parollee’s file was

  directed was also disciplined. These facts support defendants’

  non-discriminatory basis for the disciplinary action. Plaintiff

  has failed to show that this reason was pretextual.

        In some cases, a hostile work environment can itself be

  considered an adverse employment action sufficient to make out a

  claim of retaliation. Richardson, 180 F.3d at 446 (“An employee

  could suffer a materially adverse change in the terms and

  conditions of [his] employment if [his] employer knew about but

  failed to take action to abate retaliatory harassment inflicted

  by co-workers.”). However, as discussed above, plaintiff cannot

  make out a prima facie showing of a discriminatorily hostile work

  environment. Plaintiff has presented no evidence to support an

  inference that any harassment directed at plaintiff by his

  subordinates was related to his complaints regarding religious
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  discrimination, and provides only conclusory allegations stating

  that such behavior was encouraged and tolerated by the

  defendants. Moreover, defendants conducted investigations

  regarding the incidents complained of by plaintiff. Accordingly,

  defendants are entitled to summary judgment on plaintiff’s

  retaliation claim as a matter of law.

        Because plaintiff cannot show that he was subjected to

  religious discrimination or retaliation under any of the above

  theories, his Title VII, § 1981, § 1983, state and city law

  claims against the Division must be dismissed. Because plaintiff

  fails to make a prima facie showing of religious discrimination

  by the Division, I will not address whether plaintiff’s claims

  are barred by the Eleventh Amendment, New York State Executive

  Law, or on any other grounds.

             Discrimination Claims against Defendant Dress

        Plaintiff fails to allege any facts upon which defendant

  Dress, in his official or individual capacity, can be held liable

  for violations of § 1981, § 1983, state or city law, which are

  evaluated using the analytical framework applied above. Because

  plaintiff relies on identical facts to support all of his claims,

  plaintiff’s claims against Dress fail for the same reasons as his

  claims against the Division. Accordingly, plaintiff’s § 1981, §

  1983, state and city law claims against Defendant Dress must also

  be dismissed.
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                                  CONCLUSION

        For the aforementioned reasons, defendants’ motion for

  summary judgment is granted in its entirety.

        The Clerk is directed to transmit a copy of the within to

  all parties and to the magistrate judge.




        SO ORDERED.



  Dated :    Brooklyn, New York
             January 23, 2007



                   By: /s/ Charles P. Sifton (electronically signed)
                        United States District Judge
